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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,

                    Plaintiff,

              v.                          Criminal Action No. 15-cr-23-RGA

DAVID R. GIBSON,
ROBERT V. A. HARRA,
WILLIAM B. NORTH, and
KEVYN N. RAKOWSKI,

                    Defendants.




                   SENTENCING MEMORANDUM ON BEHALF OF
                        DEFENDANT KEVYN RAKOWSKI




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                                PRELIMINARY STATEMENT

       Defendant Kevyn Rakowski will appear before Your Honor for sentencing on December

19, 2018. At the sentencing, Ms. Rakowski will ask the Court to consider the factors listed in 18

U.S.C. § 3553 (a), and then impose a sentence of probation. Ms. Rakowski respectfully submits

this Memorandum to assist the Court in its exercise of discretion.

       The Court 's mandate is to impose the minimum sentence sufficient to serve the purposes

of sentencing. 18 U.S.C. § 3553(a), e.g., Kimbrough v. United States, 128 S. Ct. 558, 570

(2007). Thus, the correct sentence is the lowest one that will punish, deter, and rehabilitate in the

manner that the Sentencing Reform Act requires. See 18 U.S.C. § 3553(a)(2).

       For the reasons explained below, Ms. Rakowski respectfully submits that a sentence of

probation, with or without conditions, will serve every statutory purpose. Because a Guidelines

sentence would be greater than necessary to serve those purposes, the Court should vary

downward and impose a tern of probation. Kevyn Rakowski was a devoted wife very

recently widowed by the sudden passing of her beloved husband Peter Rakowski. Kevyn is a 65-

year old mother of two successful adult daughters. She is adored by her family, friends, and

members of her community, some of whom have felt moved to write to Your Honor and describe

the type of person Kevyn truly is.

       Kevyn suffers from several health issues that follow many of us into our sixth decade.

She has osteoarthritis, high blood pressure, TMJ and a shoulder that needs surgery. Kevyn also

has some uncommon health challenges due to her donating a kidney to Peter in 2001. The

medical implication of her donation, or her other ailments, are not in-and-of themselves reasons

for leniency. The fact that she gave her husband a kidney, however, does speak to the person she

is. Recently, Kevyn has suffered from heart palpitations and chest pain requiring a full cardiac
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 workup. According to her cardiologist, with whom counsel has consulted, this is a direct result of

 her near-constant anxiety and depression.

        The nature and circumstances of this offense, and Kevyn 's life and career, warrant

 leniency. Kevyn's life reflects her character as a hardworking woman of integrity. Kevyn is no

 longer employed and she is retired from accounting. Therefore, she is incapable of reoffending.

 Respectfully, the Court should consider the isolated nature of the alleged offense conduct in the

 context of a long and honorable life.

        Kevyn has been on pretrial release since June of 2015 and has been fully compliant with

 all tenns and conditions imposed by the Court. Sentencing Kevyn Rakowski - a 65-year-old

 widow and mother with no criminal history — to probation under the circumstances set forth

 herein, would be sufficient but not greater than necessary to accomplish the goals of sentencing.




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I.     SENTENCING PROCEDURE

       Sentencing courts must "consider the widest possible breadth of information about a

defendant" to ensure individualized sentencing. Pepper v. United States, 562 U.S. 476, 131 S.

Ct. 1229, 179 L. Ed.2d 196 (2011). Following Third Circuit case law, the sentencing court

should conduct a three step inquiry when imposing a sentence: (1) calculation of the Guidelines

range, (2) ruling on any motions for departures, and (3) detennination of the § 3553(a) factors.

United States v. Merced, 603 F.3d 203, 215 (3d Cir. 2010), e.g., United States v. Arrelucea-

Zamudio, 581 F.3d 142, 146 (3d Cir. 2009). While a sentencing court must take the Guidelines

into account, it may not presume that the Guidelines are reasonable, but must give careful

attention to the factors contained in § 3553(a). Gall v. United States, 552 U.S. 38, 50 (2007),

Nelson v. United States, 555 U.S. 350, 352 (2009).

       As noted above, the Court's statutory mandate is to impose the lowest sentence that

serves the purposes of sentencing — not to choose among multiple "reasonable" sentences. 18

U.S.C. § 3553(a) ("parsimony provision"), e.g., Rita v. United States, 551 U.S. 338, 354 (2007).

       Moreover, a sentencing court may not treat a Guidelines sentence as inherently superior

to a non-Guidelines sentence. See, e.g., Nelson v. United States, 555 U.S. 350, 351 (2009) ("The

Guidelines are not only not mandatory on sentencing courts, they are not to bepresumed

reasonable.") (emphasis in original), Gall v. United States, 552 U.S. 38, 50 (2007). The Court

may even vary from the Guidelines range simply because it disagrees with it on policy grounds.

Spears v. United States, 555 U.S. 261, 264 (2009).




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        1.      GUIDELINES CALCULATION

        In this case, Ms. Rakowski and the Government agree that the correct guidelines range is

 level 29. Accordingly, Ms. Rakowski raises no contested Guidelines issues.

        The final revised Presentence Investigation Report dated November 9, 2018 (the "PSR"),

 provides that the November 1, 2016 edition of the United States Sentencing Guidelines Manual

 applies in this case. Ms. Rakowski is in Criminal History Category I (0 points). At a level 29,

 the advisory Guidelines range is 87 months to 108 months.

        After United States v. Booker, 543 U.S. 220 (2005), the Guidelines are merely advisory,

 and the Court has the discretion to fashion any sentence that satisfies the Sentencing Reform Act,

 18 U.S.C. § 3553(a). Here, the applicable Guidelines range would result in punishment greater

 than necessary to serve the purposes of sentencing and sentencing within it would violate the

 Sentencing Refonn Act. Respectfully, Ms. Rakowski should be sentenced to probation based on

 the 3553(a) factors.


        2.      DEPARTURE MOTIONS

        Pursuant to a stipulation with the Government, dated October 5, 2018, the parties have

 agreed not to file departure motions with respect to the PSR computation in advance of

 sentencing. (See D.I. 843).

        As set forth below, Ms. Rakowski respectfully requests that the Court evaluate the §

3553(a) factors in support of a significant variance.




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          3. THIS COURT SHOULD IMPOSE THE MINIMUM SENTENCE
                REQUIRED BY LAW, EXERCISING THE DISCRETION
                RECOGNIZED BY THE SUPREME COURT IN GALL V. UNITED
                STATES and 18 U.S.C. § 3553 (a).

          It is incumbent on this Court to "consider every convicted person as an individual and

every case as a unique study in the human failings that sometimes mitigate, sometimes magnify,

the crime and the punishment to ensue." Gall v. United States, 552 U.S. 38, 51(2007) (quoting

Koon v. United States, 518 U.S. 81, 113 (1996)).

          Pursuant to 18 U.S.C. § 3553(a) and United States v. Booker, 543 U.S. 220 (2005), this

Court must impose a sentence "sufficient, but not greater than necessary," to achieve the

objectives of sentencing, specifically with regard to the factors set forth at § 3553(a). This

obligation, known as the "parsimony clause," applies at every federal sentencing "except as

otherwise specifically provided." 18 U.S.C. § 3551(a). Indeed, the command of the parsimony

clause defines the Court's "overarching duty." Pepper v. United States, 131 S.Ct. 1229, 1243

(2011).

          The Supreme Court of the United States has, since United States v. Booker, consistently

underscored the "advisory," non-mandatory nature of the Guidelines as applied by the bare

reading in the presentence report. It is a well-settled Third Circuit standard that a sentencing

court "must calculate a Defendant's guideline range, but may only use that range as a starting

point for detennining a reasonable sentence based on an individualized assessment of the factors

set forth at 18 U.S.C. §3553(a), in order to arrive at a sentence that is sufficient but not greater

than necessary." United States v. Dillon, 572 F.3d 146, 148 (3d Cir. 2009) (emphases added).

These factors, in pertinent part, are below:

                 (1) The nature and circumstances of the offense and the history and
                 characteristics of the defendant,
                 (2) the need for the sentence imposed —

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               (A) to reflect the seriousness of the offense, to promote respect for
               the law, and to provide just punishment for the offense;
               (B) to afford adequate deterrence to criminal conduct,
               (C) to protect the public from further crimes of the defendant, and
               (D) to provide the defendant with needed educational or vocational
               training, medical care, or other correctional treatment in the most
               effective manner.

 18 U.S.C. §3553(a).

        The law of this Court and the §3552(a) factors require a deeper look into not just

the person to be sentenced, but the reasonableness of the range itself as applied to her. See

United States v. Merced, 603 F. 3d 203, 215 (3d Cir. 2010) (discussing the "three step

inquiry when imposing a sentence).

        Kevyn Rakowski urges this Court to apply these factors in order to impose a

sentence of probation.

       i) The nature and circumstances of the offense and the history and
           characteristics of the defendant 1-§ 3553(a)(1)1

       The offenses Ms. Rakowski has been convicted of do not represent a true depiction of her

character. Ms. Rakowski's devotion to her family, friends and her community is precisely the

type of information that the Court must consider in determining her sentence under 18 U.S.C.

3353(a)(1). In addition, the Court should consider Ms. Rakowski's age and physical health.

       The Court should also consider the nature and circumstance of the offense. Courts have

recognized that the advisory guideline range in fraud cases is often a poor approximation of a

"just punishment." See Frank O. Bowman III, Sentencing High-Loss Corporate Insider Frauds

after Booker, 20 Fed. Sent'g Rep. 167 (Feb. 2008) ("The sentences nominally prescribed by the

Guidelines for high-loss corporate fraud cases have become so draconian that judges are

unwilling to impose them even in the biggest and most publicly notorious cases."). Given the


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extreme punishment called for by the Guidelines calculation in this case, along with Ms.

Rakowski's relatively passive role, and the isolated nature of the alleged conduct in the context

of her long and honorable life, we respectfully request that the Court vary substantially for Ms.

Rakowski.1

       HISTORY AND CHARACTERISTICS OF KEVYN:

       Kevyn Rakowski is a 65-year-old woman, who has lived her entire life as an upstanding

and law-abiding citizen until she was found guilty in this matter. She is deeply loved and

respected by her family and friends. Ms. Rakowski recently became a widow, when on

September 7, 2018, following her conviction, her devoted husband tragically passed away after a

fall in his home, paces from Kevyn, as she sat in their kitchen. Peter had a syncopal event while

at home due to his underlying cardiac problems exacerbated by stress. That event caused him to

fall backwards unabated. His head struck the ground, which caused a subdural hematoma and

rapidly increasing intracranial pressure that was unable to be arrested. Kevyn and her family

have been left devastated by the loss of Peter, Kevyn 's primary source of emotional support.



1 See USSG, § 2B1.1, 18 U.S.C.A. Commentary 20 (C) Downward Departure Consideration:
There may be cases in which the offense level detemlined under this guideline substantially
overstates the seriousness of the offense. In such cases, a downward departure may be waiTanted.
For example, a securities fraud involving a fraudulent statement made publicly to the market may
produce an aggregate loss amount that is substantial but diffuse, with relatively small loss amounts
suffered by a relatively large number of victims. In such a case, the loss table in subsection (b)(1)
and the victims table in subsection (b)(2) may combine to produce an offense level that
substantially overstates the seriousness of the offense. If so, a downward departure may be
warranted. See also United States v. Free, 2015 WL 8784738, at *7 (W.D. Pa. Dec. 15, 2015) ("the
universe of facts relevant to calculating a particular Defendant's "Guidelines" sentence does not,
itself, define a Defendant's proper sentence in a given case, instead, these facts, considered through
the lenses of the 5S' 3553(a) factors, can properly push a particular sentence up or down, away from
the calculated Guideline range.") (emphases added).


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        Kevyn and Peter raised two devoted adult daughters: Kim and Jennifer. It is clear that the

 relationships fostered by Kevyn are treasured by her daughters, as well as her siblings, and

 friends. As attested to by her family and friends, Kevyn is "a diligent hardworking, loving, kind,

 faithful mother, wife, family member, and friend." (A-7).

        Kevyn 's Early Life: Kevyn 's upbringing informs one of who she is as a person. Kevyn

grew up in a military family, led by her father, William J. Kilpatrick, Jr a Class of '43 West Point

Cadet, who rose to the rank of Colonel in the U.S. Army Air Force. (A-2, A-6). William

Kilpatrick was the President of the West Point Honor Council his last year at the USMA in 1943.

(A-5). Mr. Kilpatrick and his class members graduated early in order to enter World War II.

After graduation, William Kilpatrick became a bomber pilot. During the war, Mr. Kilpatrick's

plane was shot down over Europe and he was captured. He was eventually freed as part of a

prisoner exchange. Among other honors, Kevyn's father William Kilpatrick received the

Distinguished Flying Cross and Bronze Star. (A-2).

        Growing up as part of a military family, Kevyn endured many difficult moves due to her

father's frequent deployment to different Air Force and NATO installations. Kevyn was born in

Montgomery, Alabama, and was subsequently raised all over. She called Topeka, Kansas,

Guam, Elsworth, South Dakota, Lubbock, Texas, Izmir, Turkey, and Big Spring, Texas, "home"

during her fonnative years. She attended three different high schools. (A-2). Kevyn was raised

in a setting influenced by military values, where discipline and honesty, integrity, and character-

building traits were developed, valued, and exemplified. (A-2). Kevyn's brother describes their

late parents as "sticklers for excellence," and states that the siblings "were always driven to

excel." (A-5). Kevyn's father William, "was especially adamant about virtue, integrity, and




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 accountability. ' (A-5). Kevyn and her brothers were taught to "strive to never blame anyone else

 for anything," and to "strive to take responsibility and to be sincere and authentic." (A-5).

        A Devoted Wife: Kevyn met Peter Rakowski, an Air Force instructor pilot, when she

 was 18 years old and attending Howard County Junior College in Texas. Kevyn married Peter at

 the Williams Air Force Base chapel, in Chandler, Arizona, on March 22, 1973, while Peter was

 serving in the U.S. Air Force. (A-2). Peter, Kevyn's husband for over 45 years, drafted a letter to

 Your Honor (dated August 20, 2018) approximately two weeks before he passed away. Peter

 poignantly and lovingly described Kevyn. Peter indicated that throughout her life Kevyn has

 been guided by her faith, her love and duty to country, her support and guidance to their families,

 and her workplace commitments. (A-2).

        As a wife and mother, Kevyn's capacity for sacrifice and dedication has been limitless.

 During their life together, Peter had a series of health problems that he could not overcome had

 Kevyn not been there for him. (A-4). In 1986, Peter was diagnosed with an incurable polycystic

 kidney condition and his career was in jeopardy. Kevyn went back to school in 1988 while she

 continued to care for their daughters so that she would be able to support the family if necessary.

 (A-2). Kevyn commuted at least 60 miles to Tulsa University and eventually graduated Magna

 cum Laude with a Bachelor's degree in accounting in 1991, at age 38. (A-2). Kevyn's sister-in-

 law Donna observed that Kevyn's "academic achievements were excellent and true to her style

 and personality working diligently to give it her best." (A-7).

        Kevyn began her career with Arthur Andersen in Tulsa. In 1998, Kevyn transferred to the

 Philadelphia office of Arthur Andersen, when the Rakowskis decided to move close to Peter's

 home town in south New Jersey for Peter's employment, and to be near a high quality kidney

 transplant hospital. (A-2). On September 5, 2001, Kevyn exhibited her extraordinary character



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 when she and Peter entered Jefferson Hospital where she donated one of her kidneys to her

 husband. (A-2). Kevyn provided the sole financial support for the household while Peter

 recovered and sought new work over the next 13 months. (A-2).

         Peter recounted his many medical challenges, and stated that he can deal with the issues

 that God has put before him. (A-2). Peter expressed that his anxiety level was heightened by his

 knowledge that Kevyn was worried about how any time away from him would have a harmful

 impact on his medical prognosis. (A-2).

         A Supportive Mother: Kevyn and Peter raised two successful and productive daughters:

 Jennifer, a customer liaison for a medical device implant manufacturing company in

                and Kim, an environmental microbiologist and research lab manager at

                                     .

        As a mother Kevyn is dedicated and caring. Her daughter Kim states: "[f]rom an early

 age my mother was always there to reassure me..." and "I dont think it's possible for a daughter

 to feel more loved or closer to her mother than the relationship I have with her. A piece of her is

 always with me." (A-3). Her longtime friend describes Kevyn's role as "a devoted, no nonsense

 mother. Her advice was always loving, supportive and practical to her girls, and eventually to

 their husbands. She continues to be very close to both of them." (A-8).

        Kevyn has had a positive influence on and is a role model to her daughters. Kim states:

 "I understood why she went back to school, which was unpopular for a woman of her age to do

 at the time in the late 80s in Oklahoma. She became an inspiration to me professionally." (A-3).

 "[M]y mother has always served as inspiration for me as the woman I have become. The

 principles of integrity instilled in our family has greatly contributed to my profession as a

 researcher in molecular biology at the                           . My parents taught me to be



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  diligent, honest, and hard working." (A-3). Her daughter Jennifer states: "[p]utting in the effort

  to complete a job and do it right is always at the forefront of my mother's mind. This applies to

  all aspects of her life, whether it pertains to work or her hobbies." (A-4).

         A Caring Sister: As a sibling, her brother describes his relationship with Kevyn as

  always having "great affection and love for each other." He further states: "I feel I know her as

 well as a brother could" and that "I stand by my sister, whom I know to be a loving, caring

 person of the highest integrity." (A-5). Her brother Tim states that "Kevyn has always shown a

 real sense of honor and duty in everything that she does." (A-6). He further states:        always,

 I continue to believe and trust in my sister and will provide whatever help I can. My sister,

 Kevyn has never given me any reason to feel any other way about her." (A-6).

         A Loyal Friend and Co-worker: Kevyn has always been a loyal and trustworthy friend.

 A friend states that Kevyn "is a gentle, kind person who always treats others with respect." (A-

 9). She believes in Kevyn and trusts her "because of all the good qualities she represents." (A-9).

 Another longtime and close friend, who is a former co-worker of Kevyn's states that she has

 "complete trust and admiration" in Kevyn, who was there for her as important support in a time

 of great grief. (A-8). She describes Kevyn's instinct and compassion as unique during a dark

 time. (A-8).

         Kevyn is also respected and admired in her professional capacity. As a co-worker and

 close friend states: "Kevyn was an excellent manager of people, demanding good and tirnely

 work from members of her team, but also was encouraging and supportive. She collected and

 groomed women and men of talent. She encouraged the best to stretch their skills and was

 highly admired by the people who worked for her." (A-8). Her sister- in-law states that:




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 "Kevyn's work ethic is impeccable and she gave her all in every corporation she worked for

 without question." (A-7).

        Kevyn's former boss and the CF0 at Marlin Business Services describes Kevyn as "an

 exceptional professional" and someone who "demonstrated the highest levels of integrity and

 work ethic." (A-10). He further states that Kevyn "was well respected within the organization

 both by her superiors and subordinates," adds that "it was a pleasure to work with Kevyn and I

 would hire her again today if given the opportunity." (A-10).

        Indeed, this same sentiment was expressed by Mitch Slijepcevic, forner Assistant

 Controller at Wilmington Trust, a Government witness, who praised his former boss Kevyn not

 only as an accountant, but as a person of the high integrity. (3778-3785). As a boss, Kevyn was

 courteous and she gave her staff of many direct and indirect reports, the leeway and authority to

 do what they thought was right. (3779:19-3781:4).

        Charity at Home: Kevyn has always helped those around her financially, spiritually and

 emotionally. Kevyn's brother describes her as "a kind and caring person." (A-5). Kevyn's

 "charity and humanitarianism know no bounds." (A-4).

        There are numerous examples of Kevyn 's compassion towards others. When her one

 brother was homeless, without a job, and                                   Kevyn and her husband

 Peter let him live with them for a couple of years until he got back on his feet. (A-4), (A-5), (A-

 7). As devoted daughter, when her father had a significant surgery for a WWII incurred health

 issue, Kevyn welcomed him into her family home and helped her mother care for him, while

 maintaining a household and caring for her husband and daughters. (A-2).

        In October, 1984, Kevyn leamed that her mother had died in an auto accident. After the

 funeral her father again came to live with Kevyn 's family until he could recover from the shock



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 and decide on his future. Kevyn was there to provide emotional support for her father, while she

 grieved the loss of her mother. (A-2).

        As a caring daughter-in-law, Kevyn's mother-in-law lived with Kevyn and Peter during

 the last four years of her life. When her cancer retumed and she did not want to be in a hospital,

 Kevyn and Peter cared for her at home, and Kevyn nursed her mother-in-law in her final days.

 (A-2) (A-4), (A-7).

        When Kevyn 's brother-in-law and his wife sold their home and belongings to serve as

 church missionaries in Thailand, Kevyn and Peter assisted with monthly financial support for

 their outreach activities for years. (A-2). Kevyn has lived up to her sister-in-law's description of

 Kevyn as "a generous and giving woman reaching out to others." (A-7).

        Charity Outside the Home: Kevyn's generosity and support towards those in need

 extends beyond her family and friends. Kevyn has been active in her community and always

 donates to their local church and charities. (A-1), (A-4), (A-7). Kevyn is "deeply involved with

 the Episcopalian church," through participation and service. (A-3). For example, Kevyn and

 Peter helped with various fund raising activities for the youth group. Through their church,

 Kevyn and Peter helped host a family fleeing the Soviet Union because of religious persecution.

 (A-2), (A-3). Her daughter states that: "[m]y parents involvement taught my sister and me to

 value the small things we took for granted. It was an early lesson into the lives of oppressed

 people." (A-3). Kevyn "never waivers to help someone when they see a person is struggling or in

 need" (A-4). In addition, Kevyn and Peter have supported the United Way, as well as the

 American Red Cross through disaster relief funds, and the local food bank in Florida. (A-1).

        Ms. Rakowski respectfully requests that the Court consider her charitable deeds and grant

 her a significant variance. See e.g. United States v. Tomko, 562 F.3d 558, 571 (3d Cir. 2009).



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         Kevyn' s Health: In considering the characteristics of Ms. Rakowski, we respectfully

 request that the Court consider that Ms. Rakowski suffers from several medical conditions,

 which would make incarnation more difficult on her than the average person. In 2001, Kevyn

 donated a kidney to her husband Peter. The health of Kevyn 's single kidney must be monitored

 every six months.

         Ms. Rakowski also suffers from variety of health conditions, including osteoarthritis

 aggravated by stress and high blood pressure, for which she undergoes specialized treatment and

 medications. Kevyn has been pre-diabetic from 2014 — 2017, and must be continuously

 monitored every six months. Ms. Rakowski recently required a heart catheterization due to heart

 palpitations and shortness of breath. Ms. Rakowski continues to experience heart palpitations

 and chest pain, and she was recently placed on new medication. According to her cardiologist,

 this is a direct result of anxiety and depression.

         Ms. Rakowski recently had an endoscopy perfonned, during which a biopsy was

 performed and revealed H Pylori, which is a bacterial infection that can cause ulcers and cancer

 if treatment is not effective. Ms. Rakowski will also require surgery (scheduled for January 7,

 2019) for a bone spur in her left shoulder (diagnosed in February of 2018) as the scheduled

 surgery was delayed due to her heart problems.

        Kevyn suffers from almost constant anxiety and depression, which she has discussed with

 her primary care physician, who offered to put her on medication. She has declined due to

 possible side effects. Kevyn's late husband Peter expressed his serious concerns for Kevyn's

 health and mental welfare should she be taken away from the care she is currently receiving in

 Florida. (A-2). Ms. Rakowski respectfully requests that the Court consider Kevyn s need for

 continued treatment and reduced risk of recidivism due to her health issues. See e.g. United



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 States v. Thompson, 553 F. App'x 181, 187 (3d Cir. 2014) (significant downward variance based

 in part on poor physical health), see e.g. United States v. Baynor, 335 F. App'x 163, 168 (3d Cir.

 2009) (Court exercised discretion to grant a variance from the Guidelines sentence in light of

 defendant's serious medical health issues).

        Impact on Kevyn and her Family: Kevyn and her family have been, and continue to deal

 with the consequences of this matter on a daily basis. The length and the uncertainty of the legal

 process has taken its toll on Kevyn and her family, emotionally and physically. Kevyn suffers

 from almost constant anxiety and depression.

                                                                                     . (A-1), (A-2),

 (A-3), (A-4). Kevyn 's travel has been restricted since 2015 when she was required to surrender

 her passport, and she has been unable to visit her daughter and son-in-law

            (A-2).

        Tragically, the heightened level of stress related to the trial and Kevyn's conviction,

 contributed to Kevyn's husband Peter's death on September 7, 2018. Kevyn and her family are

 devastated and left grieving the loss of Peter during this most uncertain and difficult time in their

 lives. (A-1). No further punishment is necessary to impress upon Kevyn the seriousness of the

 offense.

        Ms. Rakowski respectfully seeks the Court's lenience in determining a sentence that the

 Court finds to be appropriate.

        NATURE AND CIRCUMSTANCES OF THE OFFENSE:

        Respectfully, Ms. Rakowski requests that the Court also consider the nature and

 circumstances of the subject offense. Ms. Rakowski humbly assures the Court that she has no

 intention of re-litigating the verdict at sentencing. In this context, wherein Congress directs the



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 Court to consider the nature and circumstances of the offense, as the Court broadens its gaze past

 "guilt" to "blameworthiness", Ms. Rakowski respectfully requests that the Court consider that

 she was a relatively passive participant in the activities that gave rise to the conviction.

        Although Ms. Rakowski was Controller in title, she only began her employment with the

 Bank in April of 2006, after the Bank 's loan gro-wth strategy had been under way. By the time

 Ms. Rakowski joined the Bank, the waiver practice had existed for at least 16 years. Notably,

 prior to joining the Bank, Ms. Rakowski had never held a position with a financial institution.

        Ms. Rakowski relied on individuals who had been in the Finance group at the Bank, and

 trusted in the long existing process during her first three years as an employee. The Finance

 group used the information given to them from credit employees to create the past due

 nonperforming reports. Ms. Rakowski did not have anything to do with deciding which loans to

 waive and not waive.

        The trial testimony indicated that Ms. Rakowski delegated the preparation of the past due

 report to Mitch Slijepcevic (former Assistant Controller) and his staff. With respect to the

 Bank's reporting obligations, Mr. Slijepcevic testified that he was responsible for the same duties

 as Ms. Rakowski (3791:9-12) and that he was in charge of financial reporting (a section Ms.

 Rakowski supervised) (3792:5-7). The organizational chart as of June 2010 (DX 2793) confinns

 Mr. Slijepcevic was in charge of financial reporting during the conspiracy period. 3791:19-

 3792:2. Mr. Slijepcevic indicated that the numbers for the financial reporting would come from

 different sections or divisions of the bank. 3794:10-25. The reports would depend on the

 accuracy of these numbers coming from different sections or divisions of the bank, and Mr.

 Slijepcevic did not verify the numbers but assumed that people acted in good faith in reporting to

 him truthfully and accurately. 3794:10-3795:15. Neither Mr. Slijepcevic, nor Ms. Rakowski had



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 responsibility for lending, underwriting, and verifying the creditworthiness of the borrower.

 3793:7-17.

        Mr. Slijepcevic testified that Kevyn was leaming about the banking industry and the

 function of the bank as part of her responsibilities throughout 2006 to 2010. 3782:3-10. Most of

 the time Mr. Slijepcevic and Kevyn saw eye-to-eye on accounting issues. 3782:20-24. If they

 disagreed in accounting issues Mr. Slijepcevic and Kevyn, as well as others in the controllers

 group, would engage in healthy debate about the issues. 3782:25-3783:13. Mr. Slijepcevic never

 felt undue pressure from Kevyn to make a different accounting decision than the one he wanted

 to make. 3783:18-21. Mr. Slijepcevic also testified that Kevyn Rakowski never asked him to lie

 to the Federal Reserve and its examiners, any other regulatory agency. 3783:25- 3984:9. Kevyn

 never asked Mitch to withhold any information from the Federal Reserve in the course of

 reporting or in the examination by the examiners. 3784:10-17. Kevyn never told Mitch to lie to

 the SEC or to conceal anything from them. 3784:18-21. Kevyn never asked Mitch to lie to

 KPMG or to withhold any information from KPMG. 3785:7-15.

        Moreover, Kevyn's role as Controller was subordinate to David Gibson's as Chief

 Financial Officer and Executive Vice President, to whom Kevyn directly reported. Robert Harra,

 the Bank 's President and Chief Operating Officer was also senior to Kevyn. William North like

 Kevyn was a Senior Vice President, however he was the Bank 's Chief Credit Officer. Each of

 the co-defendants tenure at the Bank was significantly longer than Kevyn's.

        The former co-defendant Wilmington Trust Corporation agreed to pay a civil forfeiture in

 retum for the dismissal of criminal charges against the bank. Ms. Rakowski is a named

 defendant in the related SEC Action, which is currently stayed.




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         In addition, other than her salary and benefits, Kevyn did not personally gain from the

 alleged offense conduct. This case is distinguishable from those cases where a defendant has

 misappropriated money for their own purposes, created a false identity, or made fraudulent

 transactions. Kevyn has lived an honorable and law abiding life until the instant offense began

 in her life in her mid-50s. As set forth herein, she has been a devoted wife, mother and

 caretaker, and a giving member of her community. Respectfully, the Court should grant a

 variance based on the fact that the alleged conduct was isolated in the context of her entire life.

 See, e.g., United States v. Howe, 543 F.3d 128, 132 (3d Cir. 2008) (variance granted based on an

 "isolated mistake" in an otherwise long and entirely upstanding life).

        ii) The need for the sentence imposed to reflect the seriousness of the
            offense, to promote respect for the law, and to provide just punishment
            for the offense [§ 3553(a)(2)(A)1;

         Conceming the question of general deterrence, this prosecution has already sent

 shockwaves through the banking community. The defense submits that to a banker or licensed

 professional, the prospect of suffering what Ms. Rakowski has suffered is terrifying: a federal

 prosecution, a federal conviction, the attendant publicity, the threatened loss of a license,

 unemployability, and the destruction of ones reputation, not to mention the toll on ones

 physical and emotional health. No one would view with sanguinity the imposition of any

 sentence. Imposing sentence of probation, with or without conditions, properly reflects Ms.

 Rakowski's culpability in light of all of the purposes of sentencing, including general deterrence.

        iii) The need for the sentence imposed to afford adequate deterrence to
             criminal conduct [§ 3553(a)(2)(B)1;

        Recent studies have shown that there is no difference between probation and

 imprisonment in deterrent effect. See e.g. Nat 'l Research Council, The Growth of Incarceration

 in the United States: Exploring Causes and Consequences 134-40, 337 (2014) (concluding that


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 because the marginal deterrent effect of long sentences, if any, is so small and so far outweighed

 by the increased costs of incarceration, long sentences are "not an effective deterrent"), Daniel S.

 Nagin, Deterrence in the Twenty-First Century: A Review of the Evidence (2013), Frances T.

 Cullen et al. Prisons Do Not Reduce Recidivism: The High Cost of Ignoring Science, Prison

 Joumal 91: 48S (2011).

         Other studies have found that, while specific and general deterrence are components of

 most sentences, "increases in severity of punishments do not yield significant (if any) marginal

 deterrent effects." Michael Tonry, Purposes and Functions of sentencing, 34 Crime & Just. 1, 28

 (2006). "Three National Academy of Science panels . . . reached that conclusion, as has every

 major survey of the evidence." Id.; see also Zvi D. Gabbay, Exploring the Limits of the

 Restorative Justice Paradigm: Restorative Justice and White Collar Crime, 8 Cardozo J. Conflict

 Resol. 421, 447- 48 (2007) ("[C]ertainty of punishment is empirically known to be a far better

 deterrent than its severity.").

         iv) The need for the sentence imposed to protect the public from further
             crimes of the defendant [§ 3553(a)(2)(C)1; and

         At 65 years old, having only been involved in the instant non-violent offenses in her

 entire life, there is certainly no need to impose a sentence of confinement to protect the public

 from future crimes of Ms. Rakowski. Again, she is no risk of becoming involved in this type of

 criminal activity in the future.

         It must be noted that the offense conduct occurred almost 10 years ago. Needless to say,

 Ms. Rakowski has not committed any wrongdoing during this time. Her record of good behavior

 militates in favor of a probation sentencing. Sentencing Ms. Rakowski to a period of custody

 would be counter-productive to accomplish the goals of sentencing.




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         Ms. Rakowski has zero criminal history points. Courts have found that "the length of

 time a person refrains from the commission of crimes, which is invariably tied to a person's age,

 is a factor that is critical to a court's determination of the sentence it should impose." United

 States v. Ward, 814 F.Supp. 23, 24 (E.D. Va. 1993) (the 49 year-old defendant justifiably

 received a guidelines downward departure after the sentencing court determined that he had led a

 life otherwise void of criminal convictions). "The positive correlation between age and

 recidivism is impossible to deny[,]" and it has been observed that "[r]ecidivism rates decline

 consistently as age increases." United States v. Nellum, 2005 WL 300073, at *3 (N.D. Ind. Feb.

 3, 2005) quoting Federal Sentencing Guidelines, at 121, see also United States v. Green, 2007

 WL 869725, at *2 (S.D. Ohio Mar. 20, 2007) ("[D]istrict courts have routinely considered a

 defendant's age as part of their analysis on the ground that older defendants exhibit markedly

 lower rates of recidivism compared to younger defendants.").

        Statistically, a 65 year-old, first time offender, in criminal history category 1, such as Ms.

 Rakowski, has only a 6.2% likelihood of recidivism. See U.S.S.G., Measuring Recidivism: The

 Criminal History Cornputation of the Federal Sentencing Guidelines, at 28. Realistically,

 however, the true likelihood of recidivism here is 0%. Ms. Rakowski is no longer employed and

 she is retired from accounting. There is no chance that Ms. Rakowski would ever even be in a

 position to be involved in conduct similar to that presented in this case. Given Ms. Rakowski's

 age, the statistics, the circumstances and other mitigating factors in Ms. Rakowski life, there is

 zero chance that she would commit an offense in the future. For this reason, among others, the

 Court should sentence Ms. Rakowski to the minimum sentence as required by law.




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         v) The need for the sentence imposed to provide the defendant with needed
             educational or vocational training, medical care, or other correctional
             treatment in the most effective manner [§ 3553(a)(2)(D)1;

        Ms. Rakowski is not in need of any educational or vocational training, nor of any

 correctional treatment. She does require frequent medical care and treatment, which would be

 best served with a sentence of probation.

        vi) The kinds of sentences available [§ 3553(a)(3)1;

        By referencing the Guidelines range, the Court can sentence Ms. Rakowski anywhere

 from probation, home confinement, or confinement of up to 108 months in prison.

        vii) The kinds of sentence and the sentencing range established in the
             Federal Sentencing Guidelines 3553(a)(4)(A-B)];

        Ms. Rakowski has a total offense level of 29 and a Criminal History Category I, which

 results in an advisory Guidelines sentencing range of 87 - 108 months. The Court can sentence

 Ms. Rakowski anywhere from probation to 108 months.

        viii)   The need to avoid unwarranted sentence disparity 3553(a)(6)1

        In seeking to avoid unwarranted sentencing disparities. This Court can and should

 consider the sentences imposed in similar cases generally, and in the directly related cases.

        Thus far in fiscal year 2018, sentences below the Guidelines range were imposed in

 56.9% of all fraud cases. See U.S. Sent'g Comm'n, Preliminary Quarterly Data Report, 3rd

 Quarter Release, Preliminary Fiscal Year 2018 Data (October 1, 2017 through June 30, 2018),

 Tbl. 10A. Downward variances were granted in 35.8% of all fraud cases. Id. For all fraud cases

 during this same time frame, the mean sentence was 27 months, and the median sentence was 17

 months. Id., at Tbl. 6. For all fraud cases during this same time frame, 12.2% of offenders

 received probation only. Id., at Tbl. 7. During this time frame, Third Circuit courts granted




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 variances in 31.8% of the total number of matters under the Guidelines, Delaware specifically

 granted variances in 45.5% of the total number of matters. Id. , at Tbl. 9A.

         Here, the defendants in the related cases are awaiting sentencing. Your Honor will be

 sentencing the co-defendants in this matter on December 17, 2018 and December 19, 2018. The

 former co-defendant Wilmington Trust Corporation agreed to pay a civil forfeiture in retum for

 the dismissal of criminal charges against the bank. Comparatively, Ms. Rakowski's conduct was

 not as egregious as other defendants. Sentencing Ms. Rakowski less severely than the other

 defendants, and in proportion to her conduct, would not cause any unwarranted sentencing

 disparity.

         ix) The need to provide restitution to any victims [§ 3553(a)(7)1.

         In accordance with the PSR, the probation officer will determine if restitution remains

 outstanding, and if Ms. Rakowski has the ability to pay a fine in this case.


 II.     LETTERS

        Ms. Rakowski will be prepared to address Your Honor at sentencing. Additionally, in

 support of Ms. Rakowski, attached are letters addressed to Your Honor:

        A-1 Kevyn Rakowski
        A-2 Peter Rakowski
        A-3 Kim
        A-4 Jennifer
        A-5     Peter Kilpatrick
        A-6 Tim Kilpatrick
        A-7 Donna Rakowski
        A-8 Gail Howard
        A-9 Denise McQuillen
        A-10 Bruce Sickel

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  III. JUDGMENT OF CONVICTION REQUESTS

        The Bureau of Prisons must consider any judicial recommendation when designating a

 defendant's place of imprisonment. See Bureau of Prisons Program Statement 5100.07, see also

 18 U.S.C. § 3621(a)(4)(B) (the BOP must consider "(1) the resources of the facility

 contemplated, (2) the nature and circumstances of the offense, (3) the history and characteristics

 of the prisoner, (4) any statement by the court that imposed the sentence   (A) conceming the

 purposes for which the sentence to imprisonment was deten-nined to be warranted, or (B)

 recommending a type of penal or correctional facility as appropriate, and (5) any pertinent policy

 statement issued by the Sentencing Commission pursuant to section 994(a)(2) of title 28).

        Recognizing that the Court does have the discretion to impose a sentence of incarceration

 and in the event that the Court decides to impose a sentence of imprisonment, Ms. Rakowski

 respectfully requests that this Court make a written recommendation in the Judgment of

 Conviction as follows:


                "The Court recommends to the Bureau of Prisons that Defendant Kevyn
                Rakowski be placed at a location best facilitating family visitation and
                capable of accommodating her medical conditions."

        In addition, when incarcerated, Ms. Rakowski may be eligible for community

 confinement at the end of sentence. Thus, while recognizing that a court's recommendation is

 not binding, Ms. Rakowski respectfully requests that this Court make a written recommendation

 in the Judgment of Conviction as follows:

               "The Court recommends to the Bureau of Prisons that Defendant
               Kevyn Rakowski be placed in community confinement for up to the
               last twelve months ofher sentence or as long as federal law permits."




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 See Woodall v. Federal Bureau of Prisons, 432 F.3d 235, 251 (3d Cir. 2005) ("the BOP should

 consider the sentencing judge's recommendation and the other § 3621 factors the BOP routinely

 considers").

        Ms. Rakowski would receive a more favorable designation by the Bureau of Prisons if

 she is perrnitted to self-surrender. We respectfully request that the Court permit her to do so.

                                          CONCLUSION

        For the reasons explained above, we submit that a sentence of probation is appropriate.

 On behalf of Defendant Kevyn Rakowski, we respectfully request the Court impose a sentence

 of no more than probation.

                                                         Respectfully submitted,

                                                           /s/ Henry E. Klingeman
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                                                           Helen A. Nau
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                                                          Attorneys for Defendant
                                                          Kevyn Rakowski

    Dated: November 19, 2018




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                               Kewn Rakowski Sentencing Letters




    Ex.     Name                           Reiationship

    Al      Kevyn Rakowski                 Defendant

    A2      Peter Rakowski                 Husband

    A3      Kim                            Daughter

    A4      Jennifer                       Daughter

    A5      Peter Kilpatrick               Brother

    A6      Tim Kilpatrick                 Brother

    A7      Donna Rakowski                 Sister-in-law

    A8      Gail Howard                    Friend

    A9      Denise McQuillen               Friend

    A10     Bruce Sickei                   Friend
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                               EXHIBIT A
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 November 2, 2018

 Honorable Richard G. Andrews
 United States District Court Judge
 District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 9, Room 6325
 Wilmington, DE 19801-3555



 United States v. Gibson, et al.
 Crim. No. 1:15-cr-00023 (RGA)


 Dear Judge Andrews,

 l write this letter to tell you of myself and my family and to respectfully request leniency in the
 matter noted above.

 I was raised in a household, along with my three brothers, where honor and integrity were
 valued above all else. My father graduated West Point with honors and was a B52 pilot during
 World War II. He received numerous medals during the war, including a Bronze Star for heroic
 service in connection with operations against an opposing armed force and a Distinguished
 Flying Cross for heroism or extraordinary achievement while participating in an aerial flight.
 While he was considered a hero by others, my father merely felt that he did his duty and what
 was right. He very seldom spoke of his actions during the war, but he continually spoke to his
 children of how important it was to be honest and to do the right thing. My siblings and I have
 strived to do this all our lives and I believe we have accomplished that.

 I married a man much like my father in that he also believed in these values above all else. I
 married Peter Rakowski when I was 19 years old. I never lived on my own, but went from my
 parents house directly to living with my husband. We raised two daughters and taught them
 that the worst thing you can do is lie and not take responsibility for your actions. We raised
 them in the Episcopal church, which teaches the same values, where we were all active. While
 my daughters were acolytes and very involved in the youth group, my husband Peter was a
 Treasurer and Junior Warden. I was part of the Altar Guild and the choir and we supported the
 Church and youth group financially and with our time.

 My time when my children were younger was spent with them and our church. When they
 were in grade school, my youngest was nine years old, I returned to school for my degree so I
 could help provide my daughters with better education to help them succeed in their lives.
 When I graduated with honors from Tulsa University, I immediately went to work for Arthur
 Andersen. I was 38 years old at the time and the oldest person that office had ever hired,
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  which spoke to the Managing Partners, Jim Miller, confidence in me which l value to this day.
  While l continued to be there for my daughters and my church, l also supported my University
  financially and with my time at events and l became involved with United Way. My husband
  and l continued our support to United Way throughout our working careers. We have also
  supported several churches throughout the various places we have lived. We currently support
  our church financially as well as through specific events such as Day of Hope, which prepares
  disadvantaged children for their first day of school and through the Salvation Army bellringers.
  We also support the American Red Cross through disaster relief funds and help support the
  local food bank here in Florida.

  While my husband and l have always felt it important to contribute to society through our work
  and financially, family has always come first. We helped support my oldest brother financially
  for many years and had him live with us for two years when he was unable to work. My
  mother-in-law lived with us for four years and was at home as she requested during the final
  stages of her illness. When my husband's kidney disease progressed, l donated one of my
  kidneys to him when his brother was not able to do so. While my daughters are capable, hard
  working women with responsible husbands, we have recognized how much more difficult the
  world is now versus when my husband and l were their age. Thus, we have helped them
 financially when we can, such as down payments for their houses.

 The last five years have been very difficult for my family and myself, especially the last three
 since the indictment and the trial. While l worry about myself and recent health problems, l am
 most concerned for them. My oldest daughter, Jennifer, has been angry and bitter for some
 time now and this is so unusual for her. She has always been my happy-go-lucky child who
 takes the world with an easy-going nature, but this has not been evident in the last year.
                                        after my husband died. My youngest daughter, Kimberly,
 lives in          with her husband and
                                     l. She communicates with me every day as she is fearful of not
 being able to contact me living so far away. l cannot imagine what my going to prison will do to
 both of them, especially since the loss of their father.

 My husband, Peter died on September 7th of this year. He had numerous health problems and
 the stress of the last several years only aggravated many of his conditions. He survived a kidney
 transplant 17 years ago and the problems with adjusting to that and the medications. He had a
 minor stroke in April 2015 after the news that an indictment against me was most likely. He
 had a heart condition diagnosed in January 2013 and we were told his heart function had
 decreased to less than 40%. He worked hard for five years to increase his heart function to 56%
 as of last Fall. As ofJune of this year, his heart function had decreased again to 44% and his
 doctors believe the most likely reason was the stress of the trial and the verdict. The doctors
 could not tell me why he passed out and fell, but l know that stress has been a factor in all of
 our lives for several years. He was a good, kind, caring husband and father. He was my best
 friend for 47 years for which we were married for 45 and my daughters and l have been
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 devastated by his death. Losing his support now when I face a prison sentence seems
  unimaginable for me and my daughters.

 I would like to also tell your Honor that I am sorry for all that occurred at Wilmington Trust.
 Maybe I was naive in believing what I was told by the people around me. No one wanted the
 Bank to be sold or for employees or investors to be hurt. I made every effort to help the people
 who worked for me find other positions, as many at the Bank did also.

 As I noted above, I would request that your Honor be as lenient as possible in my sentencing.
 Mostly for my daughters as they have faced this hardship for many years now and it has
 affected them greatly. I ask that they not have to go without their mother so soon after losing
 their father permanently.

 Respectfully,




 Kevyn N. Rakowski
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 Honorable Richard G. Andrews                                                August 20, 2018
 United States District Court Judge
 District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 9, Room 6325
 Wilmington, DE 19801-3555

 United States V. Gibson, et al.
 Crirn. No. 1:15-cr-00023 (RGA)

 Dear Judge Andrews,

 My name is Peter A. Rakowski, Kevyn's loving husband for over 45 years and who has known her for
 over 47 years. Ironically, as l write this letter today, Kevyn and l first met 47 years ago to the week in
 1971, during a Business Law class we were taking together at then Howard County Community College,
 in Big Spring Texas. l write you today to request your leniency in Kevyn's sentencing because no one
 knows of Kevyn's honesty, integrity, character, mercy and compassion towards others better than me.
 Only GOD knows her soul better than me.

 Throughout Kevyn's more than 65 years of life, she and our immediate and extended family members,
 have all been redirected and guided by four important underpinnings: our faith in GOD, our love and
 duty to our country, our support and guidance to our families, and commitments made in the
 workplace. l hope the following will help you better understand that Kevyn's integrity, honesty and
 character has never been questioned prior, during and after the recent Court proceedings. lt is not in
 her DNA and life's work to ever willingly and/or intentionally commit a criminal act.

 Kevyn attended various churches growing up on various military bases and l was raised as a Roman
 Catholic. We were married March 22, 1973 in what was the Williams Air Force Base Catholic chapel, in
 Chandler, Arizona, while l was still serving the US Air Force. Later in our marriage, and after our two
 daughters were born, Kevyn, Jennifer and Kimberly were baptized and confirmed in St. Luke's Episcopal
 Church, in Bartlesville, OK. l converted to Episcopalian and was also confirmed in this church. During our
 time at St. Luke's, Kevyn was active in the choir, Altar Guild, religious classes and assisited in the youth
 programs, in addition to providing financial support. l served as the church Treasurer and Junior
 Warden, a member of the vestry. During Kevyn's time at St. Luke's she also participated in helping our
 church to accommodate a Russian family of four, escaping Russia because of religious persecution. This
 was truly a remarkable experience for our entire family. Kevyn not only attended church activities but
 incorporated her religious beliefs into our family and work life. ln addition to following the Golden Rule,
 she and our family, firmly also believed in following basic axioms, do the right thing no matter what the
 cost and have mercy/compassion when helping others in trouble or need.

 When my younger brother retired early, he and his wife sold their Florida home and all their belongings
 and moved to Chiang Mai, Thailand to serve as church missionaries. During this period, they became
 ordained ministers. Kevyn and l gladly provided monthly financial support for their outreach activities
 from 2005 until they returned to Florida in 2012.
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 Kevyn grew up in a military family, led by her father, William J. Kilpatrick Jr. ("KP"), the son of a former
 State Senator in lowa. KP was a Class of 43 West Point Cadet and this Class was graduated early so the
 cadets could enter World War II. This Class sustained the highest level of fatalities in WWII and if you
 were to go to West Point you will see the main gate is dedicated to these Class of '43 cadets. While in
 West Point, KP was honoured and selected by the cadets to serve as the Honour Code Leader. This
 position monitored and enforced the West Points infamous Honour Code. After graduation, KP became
 a bomber pilot and earned many flying accommodations, to include the Distinguished Flying Cross and
 the Bronze Star. During the war, he was shot down over Europe, captured and endured physical
 hardships that lingered on until he died in 1998. KP was eventually freed as part of a prisoner exchange.
 His remains are in the West Point cemetery with many of his Class of '43 cadets.

 During KP's life after the war, his wife, three boys and Kevyn lived the military life. Love and service to
 our country was expected. Kevyn was subject to "military like" discipline and her honesty, integrity, and
 character-building traits were developed. She has valued and exemplified these values her entire life. As
 part of being part of a military family, her father was frequently deployed to many Air Force and NATO
 installations and such moves were difficult on the family. For instance, because of these frequent
 assignments, Kevyn ended up attending three high schools—a daunting task for a young teenage lady.
 During her military family years, she learned first-hand the cost of "doing the right thing no matter what
 the cost. KP was on track to become a General but was passed over because he refused to blame
 others under his command for a problem. KP stepped forward and took the blame. This was a significant
 life lesson to Kevyn.

 Like Kevyn, I too grew up in a military family. My father was one of six brothers and sisters first
 generation Polish immigrants to serve in World War 11. My father also made a career in the US Army Air
 Corp./ US Air Force and retired as a Master Sargent. I also learned to love and honour our country and
 was also subject to "military like" discipline and subject to honesty and integrity, and character-building
 expectations. I joined the US Air Force during the Vietnam era and was eventually stationed at Webb
 AFB in Big Spring, Texas, where Kevyn and I first met.

 While Kevyn and I were dating I met her best friend, Linda Gayle Smith, and learned her father was a
 MIA pilot lost in Vietnam. Kevyn's friendship, compassion and mercy towards Linda was a remarkable
 thing to witness. This was one of the many reasons I was attracted towards Kevyn.

 Our faith in GOD and our military family inspired honesty, integrity, character building and discipline
 background served Kevyn and I well into our family life. Our original plans were for me to finish up my
 undergraduate degree in accounting, assisted by the the GI Bill and Kevyn's work as a dental assistant,
 obtain a position with a Big 8 accounting firm and start our family. I was to be the primary source of
 financial support while Kevyn would care for our daughters and become active as a volunteer in the
 community. This plan was the identical to what both our parents had successfully adopted. After several
 years in public accounting I left for a tax position with a public firm in Philadelphia. While working
 fulltime, studying for the CPA exam and earning a MS in Taxation at Drexel University, Kevyn had to care
 for everything at home. After completing my MS program, in 1981, I accepted a new tax position with
 Phillips Petroleum Company in Bartlesville, OK.

 ln 1983 Kevyn's parents moved from Phoenix to northeast Arkansas to be closer to KP's brother and our
- family. During this time, KP had a significant surgery for an old WWII incurred health issue. After his
 surgery, Kevyn welcomed him into our home and helped her mother care for her father until he
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 properly healed. She did all of this while maintaining our household and caring for our daughters.
 Tragically in October,1984 Kevyn learned from her father that her mother had died in an auto accident.
 After the funeral her father came to live with us for many months until he could recover from the shock
 and decide on his future. Kevyn was there to provide emotional support for her father, while she also
 grieved with the loss of her mother. This is another example of the mercy and compassion that so many
 people admire in Kevyn.

 Our original plans for my providing the family financial resources was working as planned until in 1986.
 ln that year I learned I had an uncurable polycystic kidney condition. As a result, my work career was in
 jeopardy and this medical condition precluded my purchase of additional disability and life insurance.
 Faced this dilemma, Kevyn decided to go back to school while she continued to care for our daughters
 and assist in our local schools and community. Her goal was to be able to support our family if needed.

 We lived at least 60 miles from Tulsa, OK, the nearest locale of a 4-year college or university. Kevyn
 commuted to and eventually graduated from Tulsa University, Magna cum Laude with a BS degree in
 accounting. Even though Kevyn was a "Non-Traditional" student (a PC term for older student) she was
 hired and started her career with Arthur Andresen.

 Just like she excelled in school, Kevyn also did so in her work. She quickly became an OK CPA. Kevyn was
 on the Partner track in Tulsa until we moved back to my home town area of south New Jersey, so I could
 join my brother's software consulting firm and be closer to higher quality kidney transplant hospitals. ln
 1998, Kevyn transferred to the Philadelphia office of Arthur Andersen but it was not a good match.
 Because we left Tulsa, her professional career suffered for my benefit.

 During our family life in New Jersey, Kevyn's extraordinary character, mercy and compassion was again
 exhibited by her actions. On September 5, 2001 Kevyn and I entered Jefferson Hospital where she
 donated one of her kidneys to me. while I recovered and sought new work over the next 13 months,
 Kevyn provided our sole financial support for our household and covered the costs for our two
 daughters in college. In 2004, a year after I began work as an IRS Agent in Edison, NJ, my brother and
 sister-in-law moved to Florida and my widowed and lung cancer survivor mother came to live in our
 home. Kevyn once again lovingly accepted and compassionately assisted my mother. ln 2005, Kevyn
 welcomed her older chronically unemployed and                              brother, from San Diego to
 New Jersey to live with us. Kevyn had more than enough on "her plate" with working, maintaining our
 household and helping my mother, to now support her financially and emotionally broken brother while
 he looked for work. Once again, Kevyn valued the welfare of others before her self-interest.

 ln 2005, my mother's cancer returned. Up until the night she died, Kevyn helped me to keep my promise
 to my mother, that she would not die alone in a hospital. ln 2010, Kevyn was also there for me when my
 physically handicapped and widowed younger sister, who had already endured 13 major operations,
 suddenly died of a brain aneurism. She was awaiting a liver/kidney transplant for the same polycystic
 condition I have.

 Throughout our daughters formative and yearly adult years, Kevyn made sure her faith and family
 values were taught and lived before them. Kevyn was always there to discipline when needed but also
 to always supply love and nurturing. A couple of years ago, our youngest daughter told her she did not
 understand at the time why we she was insistent on discipline and holding her responsible for even
 minor infractions. She then commented that she has grown to realize this importance---and thanked
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 her. Because of Kevyn's hard work and generosity, we were able provide for both daughters college,
 wedding and home start-up expenses---a true rarity in the early 2000s. We are truly blessed that both
 of our daughters are independent, tax paying, law abiding and happily married citizens. Our oldest
 daughter, Jennifer, has willingly served on two juries in the Philadelphia court system. ln the last case,
 she served as the jury foreperson in a capital murder case. You can appreciate the dedication that
 Jennifer must have had to serve in such a role. Anyone who knows our daughters can see examples of
 the values of honesty, integrity, compassion and mercy they learned at home, especially from Kevyn.

 Kevyn's lengthy legal ordeal has already taken its toll on our daughters, both emotionally and physically.
 Our youngest daughter is married to a fine gentleman from
 Kevyn's Passport had to be surrendered at the time of her indictment. A couple of years after the
 indictment, the Court denied her request to visit them, even after offering to post any bond, etc. My
 daughter has only seen Kevyn a couple times during this ordeal.
                                                  . Our oldest daughters temperament has also drastically
 changed because of Kevyn's legal woes and altered her life outlook. I fear how a sentence that takes
 Kevyn away from our daughters will impact their physical and mental well-being.

 Kevyn has always been successful because of her extreme work ethic, devotion to assigned tasks and
 obligations to her employers to provide value.

 After leaving Arthur Andersen, she worked for two other quality and ethical companies before joining
 Wilmington Trust ("WT") in Apri1,2006. WT valued her past management experience, saw her ability to
 learn a new industry, and learn/work with others. Most executives and employees had worked and
 gained banking at WT many more years than her. Kevyn was the Controller with up to six direct reports
 and a total staff of 75. Kevyn was hired without having any prior banking accounting and regulatory
 experience—she had to deal with an acute learning curve. During this start-up period and even
 afterwards, she relied heavily upon her direct reporting managers, in-house SEC attorney, credit
 professionals and KPMG for assistance. She also attended several banking specific management training
 classes. By the time Kevyn joined WT in 2006 and gotten up to speed with the banking
 accounting/regulatory requirements, many of the loans that were in question in during the trial had
 already originated. During WT sponsored social, charitable and business gathers I attend with Kevyn,
 was frequently told by upper management, colleagues, her managers and staff members and KPMG
 personnel of the great work she performed and their enjoyment working with her in WT. Her honesty,
 integrity, character, mercy and compassion traits learned and cultivated during life served must have
 been evident in the workplace.

 As I am over 69 years old l have experienced many medical challenges. l have had high blood pressure
 since the 1980s, received a kidney transplant, from Kevyn, in 2001 (with a 15-20year shelf life), had a
 heart defibrillator installed and later a heart oblation in 2013, dealt with skin cancer issues since 2003
 arising from my kidney rejection medications and since 2016 suffered the virtual loss of sight in my left
 eye arising from a macula defect. While l can deal with these issues God has put before me, l know
 Kevyn is very concerned of how any time away from me will have a harmful impact on my medical
 prognosis. Her worries about me only heightens my levels of anxiety---which is not healthy.

 Kevyn, now over 65 years old, has her share of medical issues. She suffers from inherited family medical
 issues of high blood pressure, insomnia and back ailments dating back to shortly after we were married.
 Kevyn also suffers from worsening periodontal problems, TMJ in new left jaw (a jaw socket defect), left
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 shoulder, elbow and wrist problems and increasing gastrointestinal problems (probably related to her
 constant stress levels). I am seriously concerned for her health and mental welfare if she was taken
 away from the excellent care she is currently receiving here in southwest Florida. Both Kevyn and I come
 also from families with aging medical challenges and not of long life expectancies.

 Back in October,2017 Kevyn received a reasonable plea offer from the Government attorney which have
 prevented her from being included in this Case. This plea was offered at the time the Government
 concluded a settlement with WT, which removed the same criminal charges directed at Kevyn, in return
 for a monetary payment. Kevyn would have to admit guilt to only one of the many charges, incur no
 monetary payment and most importantly, the Government's recommendation for probation. However,
 to accept this plea Kevyn would have to go before your Court and under oath LIE that she was a guilty
 person. Lying under oath to you and God to gain her freedom was against everything Kevyn believed in,
 exhibited in her life and taught her children. Unlike Mr. Terranova, the Government's key witness with a
 plea agreement, who admitted under oath in your court, that he had lied to the Government attorneys,
 the FBI and to the jury to "save his ass" and avoid possible prison time, Kevyn "did the right thing no
 matter the cost. She was unwilling to lie gain her freedom. Kevyn's choice to deny the plea offer was
 the correct one and me, my daughters and other family and friends fully supported her decision.We
 have and will always support Kevyn.

 Judge Andrews, thank you again for reading my lengthy letter and taking the time to learn about the
 person I married over 45 years ago. Her honest, integrity, and character traits she learned and lived by
 during her over 65 years have never been disputed. Kevyn has never been in any legal trouble before
 this trial. Her existing and age-related medical issues are increasing. Her daughters and I need her close
 presence. Finally, Kevyn's freedom would not pose a future threat to society, especially relating to
 financial matters.

 My family and friends will continue to pray that God will guide the hearts and minds of the Government
 attorney's and you, Judge Andrews, to have mercy, compassion and leniency during sentencing.

 Respectively,

 Peter A Rakowski
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                                                                                      Peter K. Kilpatrick
        ILLI NOIS I NSTITUTE OF TECHNOLOGY                                            Provost and Senior VP
                                                                                       for Academic Affairs




  July 30,2018

  Honorable Richard G. Andrews
  United States District Court Judge
  District of Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street
  Unit 9, Room 6325
  Wilmington, DE 19801-3555

  Re: United Sates v. Gibson et al.
      Crim. No. 1:15-cr-00023 (RGA)

  Dear Judge Andrews,

           My name is Peter Kilpatrick, and I am the younger brother of Ms. Kevyn Rakowski, one
  of the defendants in the above cited criminal case, United States v. Gibson et al.. I write today to
  offer my thoughts about my sister 's character, and about the outcome of the recently concluded
  trial with regards to her case. My sister and I have been close our entire lives. For example, I was
  born close to Easter of 1956 and my sister (a not quite 3 year old) lobbied our parents to name me
  Peter Cottontail Kilpatrick, to which my parents had the good sense to ignore and named me
  instead Peter Kelley. While my sister and I had our share of sibling squabbles, we have always
  had great affection and love for each other. I feel I know her as well as a brother could.

         For what it is worth, I am currently the Dean of Engineering at the University of Notre
  Dame, an outstanding University. In August, I will assume a new position as the Provost and
  Senior Vice President for Academic Affairs at the Illinois Institute of Technology. I am also a
  Chemical Engineering Professor and have been one for the last 35 years.

           Our parents, the late William J. Kilpatrick, Jr. and P. Patricia Kilpatrick, were sticklers for
  excellence. So Kevyn and I (as well as our brothers) were always driven to excel. My father was
  especially adamant about virtue, integrity, and accountability (he was the President of the West
  Point Honor Council his last year at the USMA in 1943). I characterize my father's attitude on
  this point as "if something bad happens to you, take accountability for it!" I think it is fair to say
  that Kevyn and I really took this to heart. I strive to never blame anyone else for anything. I also
  strive to take responsibility and to be sincere and authentic. Kevyn does as well. Dad spoke loudly
  through his actions, not so much with words. His character led to him being passed over for a
  promotion to General because he refused to solely blame someone under his command, but took
  responsibility for the issue himself as the commander in charge. I (and all my sibl ings) have strived
  to be as honest and accountable as our father all of our lives.


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   Judge Andrews
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           My sister is also a kind and caring person. An example is that she took in our older brother
   when he had financial problems and lost his job. Our brother lived with her for 23 months while
   he struggled to find work. I know this was a hardship for my sister and a strain on her marriage;
   her mother-in-law was also living with them through that time period. While it was important to
   me and my siblings to support our older brother, it was my sister who stepped up and took our
   brother in.

           I must say I am shocked and dismayed by the verdict of the jury in this case. I know that
   throughout the last several years, the charges levied against Kevyn and the impending trial have
   weighed very heavily on her. When the verdict was reached in early May, Kevyn was unable to
   talk with us she was so distraught. But as I write above, I know Kevyn has always valued sincerity,
   authenticity, honesty,, integrity, and accountability above all. I would simply ask you, Your Honor,
   to be as lenient as the law might allow. I do not believe my sister in any way to be dishonest or
   fraudulent.

           No matter what happens at sentencing, I stand by my sister, whom I know to be a loving,
   caring person of the highest integrity. I also know that she could never violate her conscience. I
   respect, admire, and love my sister. I do know that a prison sentence might well damage her health
   and the health of her husband Peter Rakowski, who I am sure, has suffered as much as my sister
   throughout the preceding years. So again, I plead with you, Your Honor, to be lenient.

         I am willing to expand on these brief remarks and would be willing to be present to answer
  any and all questions about my sister.

    espectfully yours,
   R
  /

   Peter Kilpatrick
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                                      TIMOTHY J. KILPATIUCK




       July 22, 2018

      Honorable Richard G. Andrews
      United States District Court Judge
      District of Delaware
      J. Caleb Boggs Federal Building
      844 N. King Street
      Unit 9, Roona 6325
      Wilmington, DE 19801-3555

      Re:     United States v. Gibson. et al
              Crim. No. 1:15-cr-00023 (RGA)

      Dear Judge Andrews:

      My sister, Kevyn Rakowski, and I are two of four siblings raised by Colonel and Mrs.
      William J. Kilpatriek. Jr. Our father served in the Unites States Air Force and as a
      militmy family we were raised in several different States. As such, our mother and father
      expected their children to act in a respectfid, dignified, disciplined fashion. My father
      truly believed part of the USAF motto, "integrity first." He and my mother expected
      their children to act in morally correct and respectful fashion to everybody amund them.
      My sister, Kevyn, has always represented those qualities in her dealings with me and to
      the people around her. The upbringing which Kevyn and I and our siblings had fully
      prepared us for the challenges and the commitments of adult life.

      Kevyn has always shown herself to be a caring spouse and mother. Throughout her
      marriage to Peter Rakowski she has supported him completely. Peter Rakowski has
      encountered numerous health issues in his adult life and Kevyn, in her great love for her
      husband, donated one of her kidneys to her husband to save his life. I dont believe a
      person can be a better, more caring spouse than that. After my brother, Bill Kilpatrick,
      suffered a heart attack and lost his job my sister Kevyn opened her home to him for
      several years helping him get back on his feet. Kevyn and her husband, Peter, are long
      time congregants of the Episcopal church and are honest, decent, god-fearing people.

      During the course of my adult life, Kevyn has always shown a real sense of honor and
      duty in every-thing that she does. This prosecution of my sister, and the real emotional
      and psychological toll it has taken on Kevyn, seems unfathomable to me. I eannot
      imagine my sister acting in a way that would be anything other than upstanding and
      honest. As always, I continue to believe and trust in my sister and will provide whatever
      help I can to her. My sister, Kevyn, has never given me any reason to feel any other way
      about her.

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      Res etfully our
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      Timothy J. Ki p ick
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  July 29, 2018




  Honorable Richard G. Andrews
  United States District Court Judge
  District of Delaware
  J. Caleb Boggs Federal Building
  844 N. King Street
  Unit 9, Room 6325
  Wilmington, DE 19801-3555


  Ref:    United States v. Gibson, et al.
          Crim. NO. 1:15-cr-00023 (RGA)

  Dear Judge Andrews,

  I like to introduce myself to you. My name is Donna Rakowski and I'm Kevyn's sister-in law.

 We first met in i978 when l was dating her husband's brother, Paul. Kevyn and l became friends from
 the start. Her kind and loving personality won me over. She has always been a devoted Mother to her
 two daughters and devoted wife. As a homemaker, her home was always clean and tidy as she
 performed her task each day and kept everything going smoothly. When her children were older and in
 high school, Kevyn returned to school and pursued a Bachelor's Degree in finance and eventually took
 the CPA exam. Her academic achievements were excellent and true to her style and personality working
 diligently to give it her best.

 Kevyn not only did her best at home and in her scholastic endeavors but her kindness shown outside her
 home environment. She is a generous and giving woman reaching out to others. When her brother Bill
 was out work and eventually needed a place to live, Kevyn and her husband, Peter, took him in and he
 stayed with them for a couple of years. When Kevyn's mother-in-law, Monica, had cancer and need
 someone to care for her and a place to live, she moved in with them and they gave her wonderful care.
 My husband and l were overseas at the time in the mission field teaching English and life-skills, to young
 men and women. Peter and Kevyn, moving in their generous spirit, were one of our faithful financial
 supporters. Kevyn was involved in giving of her time and tides to her local church and also was a
 member of the church choir. ln every way, she is an example of the Proverbs 31: 10-3, the virtues of a
 noble woman. Kevyn, for as long as, I have known her has been a diligent hardworking, loving, kind,
 faithful mother, wife, family member, friend, good listener and never a gossiper or busy body minding
 everyone's business

 Kevyn's work ethic is impeccable and she gave her all in every corporation she worked for without
 question. I'm believe past co-workers will address her loyalty and performance in there writings. I
 personally watched her come in late in the evenings and work through many weekends. As I have
 already stated, she was an exemplary employee.
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  Your Honor, this whole ordeal has been heart wrenching and unbelievable for all of us as a family and
  for the people who have known Kevyn for many. lt has taken a toll on both her and her husband
  physically and emotionally, not to mention the stress factor over these last few years. Kevyn and Peter
  are very conscientious and moral people and would not take a dime (inflation considered a dollar) from
  anyone or any entity ever. I stand by Kevyn and will do what I can to support her and her immediate
  family going forward.

  I hope your Honor you will take all that I have written, as well as others, on Kevyn's behalf into
  consideration when passing sentencing. I thank you, your Honor, for taking time to read this letter and I
  appreciate your mercy and grace extended toward Kevyn Rakowski in this case which is presented
  before you.



  Res ectfully yours,


              /<-162-al
  Donna Rakowski
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                                                                                                Gail Howard




  Honorable Richard G. Andrews
  United States District Court Judge
  District of Delaware
  J. Caleb Boggs Federal Building
  844 North King Street
  Unit9, Room 6323
  Wilmington, DE 19801-3555

  Re: United States v. Gibson, et al.
  Crim. No. 1::15-cr-00023 (RGA)

  Dear Judge Andrews,

  Thank you for the opportunity to write to you on behalf of Kevyn Rakowski. Kevyn is a longtime friend in
  whom l have complete trust and admiration. She has been an important support to me in a time of
  great grief to me. l am glad to share a bit of that with you so that you may understand her better.

  Kevyn and l worked together at Wilmington Trust for several years. As a part of my job as head of
  Human Resources l was actively involved in recruiting her to the company. She and l quickly became
  friends and socialized, along with our spouses, outside of work.

  Kevyn was an excellent manager of people, demanding good and timely work from members of her
  team, but also was encouraging and supportive. She collected and groomed women and men of talent.
  She encouraged the best to stretch their skills and was highly admire by the people who worked for her.
  She was always straightforward with her opinions, giving her take on their work in a tactful way that
  encouraged their efforts.

  On the personal front, Kevyn and l, along with our husbands, spent many fun evenings together and
  became close friends. During that time Kevyn was challenged with a number of situations her two girls
  faced as they launched into careers and marriages. She and l would sometimes talk about the worries
  she had as a parent for the challenges each of her daughters were facing, but she never wavered in her
  positive face to them. She was — and is — a devoted, no nonsense mother. Her advice was always loving,
  supportive and practical to her girls, and eventually to their husbands. She continues to be very close to
  both of them.

   As the Wilmington Trust was bought Kevyn and l, along with all the corporate executives, were let go as
   the leaders in Buffalo at M&T took over the functions. Kevyn and her husband Peter moved to Florida
   and my husband and l moved into                  However, we visited back and forth regularly and
   stayed in touch by telephone and notes back and forth.

   Out of the blue my life changed dramatically. l left our apartment as usual on the morning of May 29,
   2015. My husband, Richard, and l were expecting friends for supper that Friday night. instead of my
   husband meeting me at home as l prepared to entertain, the state police came to tell me he had been
   killed outright in a traffic accident.
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  Much of the next week is still a blur to me. I felt devastated and wanted to find some sort of grounding
  to understand what had happened and what all this meant.

  During that time, I reached out to Kevyn. She and her husband were scheduled to come for a visit in a
  couple of weeks and I realized how important that seemed to me. There was no one else I wanted to
  come and stay; my brother offered, many friends, my business partner all wanted to help by being with
  me. Having any of those people around seemed like they would be a burden that I could not could not
  carry. ln contrast, Kevyn and her husband I looked forward to having with me.

  Kevyn was kind and had an instinct for what I needed and could handle. She talked with me about
  Richard when I wanted to talk. She avoided the subject when I needed to. She helped me get many
  little details organized, like sorting out bank accounts and getting the refrigerator fixed (which broke
  down in the middle of all this). She was patient, but also encouraged me to get things done that were
  needed.

  I will always be enormously grateful to Kevyn and her husband for their support during the next several
  months. I had hundreds of people express sympathy and show concern for me, and I appreciated all of
  them and their kindnesses. However, Kevyn and her husband Peter, had the capacity, the instinct and
  the compassion that was unique in that dark time.

   As I try to dissect what makes Kevyn unique I believe it is three things. First, she is smart and analytical.
  Her insights will take her to the heart of a matter, so if she raises a point I know it is important and
  needs to be considered.

  Second, her honesty is unwavering. You can count on her telling you what she thinks —with tact if it
  might be hard to hear. Her staff knew her criticisms came from clear-eyed assessment of what they had
  done and were capable of. This made her praise to them very meaningful.

  And most important to me in those months in 2015, her strength. She has remained honest and selfless
  in her commitment to her family, to friends and the things that she knows are right through many
  personal hard times — some harder than what I faced in that unhappy time. She is a woman that
  showed me how to be strong through trials and move on. She stood by my me and supported me, even
  while she was faced with this terrible prosecution. I hope that my support of her at this time will count
  to help her.

  Judge Andrews, as you consider your choices, I hope that you will hear from many people about the
  value Kevyn has provided to others. Her goodness, her loyalty and her intelligence. The length of this
  proceeding has taken a great toll on her and her health, as well has exacted real health consequences on
  her husband. I hope that you can view her situation with compassion for a very fine person who has
  already experienced real suffering.

  Thank you for your consideration,

  Respectfully,
  Gail Howard
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July 13, 2018

Honorable Richard G. Andrews
United States District Court Judge
District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9, Room 6325
Wilmington, DE 19801-3555

Re: United States v. Gibson, et al.
    Crim. No. 1:15-cr-00023 (RGA)

Dear Judge Andrews,

This letter is being written on behalf of Kevyn Rakowski. I have known Kevyn for five years. We met
through the women's golf association. When Kevyn was a new member in 2013, I was paired with her as
her "big sister".

I have thought many times over the past five years how fortunate I was to be paired with Kevyn as
"sisters". We may have never met otherwise, and I would have missed the opportunity to develop a
wonderful friendship with Kevyn that I truly value. Golf is a game of honesty, integrity, and self-reporting
of penalties and scores. Kevyn has always demonstrated those qualities on and off the golf course.

She is a gentle, kind person who always treats others with respect. One aftemoon Kevyn came home and
found a stranger in her screened lanai attempting to get into her outdoor refrigerator. When Kevyn asked
the woman what she was doing, Kevyn realized there was a problem because the woman was mumbling
incoherently, and she appeared dehydrated. Kevyn offered to take the woman to the hospital, which she
refused, but did tell Kevyn where she lived. Kevyn drove the woman to her home and made sure she was
inside safely before leaving.

An exemplary act of Kevyn's selfiessness is the donation of one of her kidneys to her husband Peter. She
did this knowing the risks of the surgery, the possible complications, and potential life-long health issues it
might create for her. That is the kind of person she is.

She is always thinking of others before herself She has expressed great concem about how the prosecution
and trial has affected her husband and daughters. Her husband has several health problems including a
heart condition. A recent exam revealed his heart fiinction has deteriorated due to the stress caused by this
situation.

In closing, I would like to say our country and comtnunities need more people like Kevyn Rakowski I
believe in her and trust her because of all the good qualities she represents. I will stand by her and help her
in anyway I can.

Respectfully yours,
Lee,nat
Denise McQuillen
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                                      BRUCE E. SICKEL
                                         CFA, CPA



 August 10, 2018


 Honorable Richard G. Andrews
 United States District Court Judge
 District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 9, Room 6325
 Wilmington, DE 19801-3555

                                 RE: United States v. Gibson, et al.
                                 Crim. No. 1:15-cr-00023 (RGA)

 Dear Judge Andrews,

 I am writing to you on behalf of Kevyn Rakowski who was a defendant in the above case.

 I was formerly the Chief Financial Officer at Marlin Business Services (”MLRN”) and I hired
 Kevyn as Controller of the company in 2004. In her role she was a key direct report to me
 primarily handling the preparation of all financial reports for the company including SEC filings.
 Kevyn and I worked together until we both left the company at a similar point in 2006.
 Although my next position caused me to relocate away from the Delaware Valley, Kevyn and I
 have stayed in touch.

 During the time she worked with me Kevyn was an exceptional professional and demonstrated
 the highest levels of integrity and work ethic. She was well respected within the organization
 both by her superiors and subordinates. Controller has become one of the most demanding and
 difficult positions in the finance function given the ever increasing workloads created by
 constantly changing and complex accounting rules coupled with compressing time deadlines.
 Kevyn could always be counted on to produce the highest quality, timely and most accurate work
 possible. To say that I was shocked by the news of this indictment against Kevyn is an
 understatement. It was a pleasure to work with Kevyn and I would hire her again today if given
 the opportunity.

 I must admit I have found this letter hard to write. Not because I did not want to do it. Rather I
 found it challenging to truly express my feelings and word it appropriately in strong enough
 support for Kevyn. We are talking about a solid citizen and human being here. Someone who
 donated a kidney to a spouse, is a mother of two productive children, good neighbor, active
 church member, someone who took in her ill mother-in-law and nursed her for several years
 through a terminal illness – all while maintaining her demanding career.
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  This case has been extremely diffícult on Kevyn and her family. I cant begin to describe the
  pain and anguish I detect in her voice each time I speak with her since the case began. The shear
  length of time the proceedings have taken has been extremely diffícult. Her career and
  reputation have been severely damaged by the publicity given the case. Kevyn's husband Peter
  has suffered significant health issues since the case began which I suspect are largely attributed
  to the stress created by this matter. As I understand it, Kevyn had to surrender her passport
  which has created a difficult separation from one of her children who lives in Europe and cannot
  travel often due to her career.

  As soon as this case was made public I immediately contacted Kevyn and offered to be a
  character witness and would have gladly testified and delivered this message in person if asked.
  As a long time banker, I have unique insight into the intemal workings of a financial institution
  and the challenges a modern day Controller faces in an institution the size of Wilmington Trust.
  Banks assets are abstract promises to repay that are negotiated and documented by numerous
  others outside of the Finance division. Although a critical officer, the Controller is NOT the
  ultimate fínance decision maker within an organization and must rely on many other officers.
  The Finance team generally has no direct contact with borrowers and has to rely on systems and
  downstream third-party information to complete assignments and meet reporting deadlines. It is
  also much easier to look in the rear view mirror years later and see the effects of the
  unprecedented 2007-09 economic collapse than it was attempting to account for it in real time.

  I ask that you are most lenient in your sentencing. I am certain that our criminal justice dollars
  can be better spent on other matters.



  Respectfully yours,




  Bruce E. Sickel
